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1                   IN THE UNITED STATES BANKRUPTCY COURT

2                     FOR THE SOUTHERN DISTRICT OF TEXAS

3                               HOUSTON DIVISION

4     IN RE:                        §    CASE NO. 22-33553-11
                                    §    HOUSTON, TEXAS
5     ALEXANDER E. JONES,           §    TUESDAY,
                                    §    JANUARY 16, 2024
6          DEBTOR.                  §    12:33 P.M. TO 12:48 P.M.
      ************************************************************
7     IN RE:                        §    CASE NO. 22-60043-11
                                    §    HOUSTON, TEXAS
8     FREE SPEECH SYSTEMS, LLC,     §    TUESDAY,
                                    §    JANUARY 16, 2024
9          DEBTOR.                  §    12:33 P.M. TO 12:48 P.M.

10

11                       STATUS CONFERENCE (VIA ZOOM)

12                BEFORE THE HONORABLE CHRISTOPHER M. LOPEZ
                       UNITED STATES BANKRUPTCY JUDGE
13

14

15          APPEARANCES:                       SEE NEXT PAGE

16          COURTROOM DEPUTY/ERO:              ZILDE COMPEAN

17

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                                                                         3


1                      APPEARANCES (CONT'D) (VIA ZOOM):

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1         HOUSTON, TEXAS; TUESDAY, JANUARY 16, 2024; 12:33 P.M.

2                  THE COURT:   Okay.     And I appreciate everyone's

3     patience.

4                  Let me call two cases.      I'm going to call them

5     together, 22-33553, the Alexander Jones case, and 22-60043,

6     here on a Status Conference.        We are conducting this

7     100 percent virtual.      I appreciate everyone's patience.

8                  If you wish to make an appearance, why don't you

9     hit five star and make an appearance and just let me know if

10    you're making an appearance in one case or both.           Either one

11    works fine for me.

12                 Let me go ahead and I'll start to unmute a few

13    lines.

14                 Here's a 212 number.

15                 MR. KIMPLER:     Hi, good morning, Your Honor.        It's

16    Kyle Kimpler from Paul Weiss on behalf of the Connecticut

17    Plaintiffs appearing in both the Free Speech and Jones case

18    today, together with my co-counsel, Ryan Chappell and Alan

19    Armstrong (phonetics).

20                 THE COURT:     Okay.   Good afternoon.

21                 Here's another -- here's a 713 number.

22                 MR. PATTERSON:     I don't know if you called my

23    number.     I didn't hear you, Judge.      I was -- your machine

24    was talking to me, but Johnie Patterson on behalf of ESG in

25    both cases, Judge.




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1                 THE COURT:     Okay.   Good afternoon, Mr. Patterson.

2                 Here's another 713 number.

3                 MR. FISHER:     Judge, this is Bennett Fisher on

4     behalf of Public Storage --

5                 THE COURT:     Okay.

6                 MR. FISHER:    -- in both cases.

7                 THE COURT:     Good afternoon, sir.

8                 MR. FISHER:     Thank you.

9                 THE COURT:     Here's a 212 number.

10                MS. BRAUNER:     Good afternoon, Your Honor.      Sara

11    Brauner, Akin, on behalf of the Creditors Committee and with

12    me are my partners, Katherine Porter and David Zensky.

13                THE COURT:     Okay.   Good afternoon.

14                Here's a 214 number.

15                MS. DRIVER:     Good afternoon, Your Honor.      Vickie

16    Driver on behalf of Alex Jones in his case, as well as a

17    party-in-interest in the Free Speech case.

18                THE COURT:     Okay.   There's a 210 number.

19                MR. BATTAGLIA:     Good afternoon, Your Honor.         Ray

20    Battaglia for Free Speech Systems appearing in both cases.

21                THE COURT:     Okay.   Good afternoon.

22                A 512 number?

23                MR. LEMMON:     Your Honor, Steve Lemmon on behalf of

24    PQPR in the FSS case.

25                THE COURT:     Okay.   Good afternoon.




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1                  I think I have covered all of the five stars.

2                  Why don't I start -- Ms. Driver, why don’t I start

3     with you?    Maybe we can kind of just --

4                  MR. RUFF:     Your Honor, before she does.       I was

5     unmuted from the prior hearing so if I could just give my

6     appearance real quick?

7                  THE COURT:     Please.    Please go ahead.

8                  MR. RUFF:     Jayson Ruff on behalf of the United

9     States Trustee in both matters.

10                 THE COURT:     Okay.     Ms. Driver, I just wanted to --

11    it's been awhile since we all got together and there were a

12    number of pleadings being filed and I know that the

13    Committee has filed some stuff.          Maybe it just makes sense

14    if we can just kind of talk at the 10,000-foot level and

15    where you think things are in connection with the case at

16    this time.

17                 MS. DRIVER:     Certainly, Your Honor.       Thank you.

18                 I believe that everything is moving forward

19    towards approval of -- conditional approval of Disclosure

20    Statement and a Confirmation hearing.          We seem to be able to

21    move through the deadlines in the uploaded Scheduling Order.

22    I think everything is rolling along at a pretty good pace.

23                 There are discussions related to settlement, but

24    also just moving, you know, through the process if we just

25    have to move through the process.          Obviously it's always




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1     helpful if we can have an uncontested Confirmation Hearing,

2     but at present I believe that the Plan is to have both the

3     Committee and the Debtor in the Jones' case move forward

4     with approving their Disclosure Statements on January 24th,

5     if that works for Your Honor's calendar, and then having a

6     Plan --

7                 THE COURT:    What was the date, Ms. Driver?

8                 MS. DRIVER:    -- Confirmation --

9                 THE COURT:    What was the date?

10                MS. DRIVER:    January 24th.

11                THE COURT:    Okay.

12                MS. DRIVER:    And I don't think we had gotten a

13    time for that, but it could be a few hours.          I wouldn't

14    imagine it's going to be a whole lot more.          I will obviously

15    defer to the Committee or either one of the groups of

16    Plaintiffs if they have a different view, I would imagine

17    that a morning or an afternoon should be sufficient.

18                THE COURT:    And exactly what we would take up on

19    this -- I'm writing stuff down as you speak.

20                MS. DRIVER:    It would be the emergency motion that

21    both the Committee filed and the Debtor filed seeking

22    conditional approval of each party's Disclosure Statement.

23                THE COURT:    Okay.

24                MS. DRIVER:    And if we got conditional approval on

25    that day, obviously it would be approving the form of the




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1     solicitation packages and then setting deadlines, moving

2     towards Confirmation.

3                  THE COURT:    Okay.   Got it.     Got it.

4                  There were a number of other -- maybe I can have

5     the others -- a number of other motions.          I think you filed

6     an application to employ a real estate broker and some other

7     matters.

8                  Do we want to -- are any of those emergency

9     motions?

10                 MS. DRIVER:    I have --

11                 THE COURT:    Or what are your thoughts on just

12    timing on those?

13                 MS. DRIVER:    No, Your Honor, they're not

14    emergency.    We just wanted to get approval so we could get

15    -- those are to employ brokers to sell certain pieces of

16    non-exempt real property of the Debtor.

17                 I have been running it past the Committee before

18    filing them so that we, at least as the Committee is

19    concerned, don't have controversy as to their employment.

20    So we're happy to move forward on those probably on that

21    same date, just to consolidate hearings, in the event that

22    there's an objection that's filed or if they're not objected

23    to, we can just present them as uncontested applications.

24                 THE COURT:    Okay.   Okay.     Thank you.

25                 Let me hear from the Committee.        What are your




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1     thoughts?

2                  MS. BRAUNER:     Good afternoon, Your Honor.     Again

3     for the Record, Sara Brauner, Akin, on behalf of the

4     Committee.

5                  No disagreement with Ms. Driver.       I think our

6     anticipation would be for the Disclosure Statement to move

7     forward on the 24th, subject to the Court's availability,

8     after which we would commence solicitation targeting

9     presumably a Confirmation Hearing late February subject to

10    coming back to the Court, you know, to the extent that needs

11    to be pushed.

12                 THE COURT:     Why don't we, just for purposes of

13    scheduling that hearing, set January 24th at 3:00 p.m. for

14    that one and it'll go till it goes.

15                 I've got -- I just don't know what I don't know.

16    I have a couple of hearings that morning and I don't know.

17    You know, it's one of those that it could be really

18    contested, it could not be, I just don't know.

19                 But I know that that 3:00 o'clock time works.

20                 MS. BRAUNER:     And Your Honor, we agree with

21    Ms. Driver.    I don't expect the hearings would need more

22    than an hour or two.

23                 THE COURT:     Okay.   Okay.   But you'll have it, if

24    you need it.    I just don't want to jam you or make you show

25    up and then have you sit there for a while on stuff.




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1                 So with respect to the Free Speech, I know we were

2     thinking about coordinating that stuff.

3                 Mr. Battaglia, where do things stand with respect

4     to Free Speech?

5                 MR. BATTAGLIA:     Your Honor, there are obviously

6     some structural differences between the cases.           Because

7     we're Sub V, we don't have a Disclosure Statement issue, but

8     we submitted a Scheduling Order that narrows in substantial

9     part the Scheduling Order that was submitted in the Jones'

10    case reflecting those differences and it was passed by all

11    of relevant constituents and Mr. Kimpler had some comments.

12    We've incorporated those.       So that's out there.

13                As far as other matters that are pending, you

14    know, I don't know that the Court requires approval of the

15    ballots, proposed form of ballots.         Normally that might be

16    something I'd do in conjunction with a Disclosure Statement,

17    but I have form ballots prepared.

18                The Debtor does intend to amend its Schedules

19    primarily to reduce the -- to eliminate unsecured creditors

20    who are identified, who are not actually owed money.            And so

21    we will be presenting a bar date order with respect to those

22    creditors any changes so those parties have an opportunity

23    to file Proofs of Claim.

24                And the only other thing I can think that's

25    pending is the Alex Jones' employment agreement.           I intend




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1     to file an amended motion that has some changes to that form

2     of agreement and, you know, we'd like to that take up at

3     some point, as well.

4                 THE COURT:    So when you file that motion, can you

5     just reach out to my case manager?         Let's get you a date,

6     just so it doesn't fall through the cracks and I'm going to

7     -- just so we have it there and we can all kind of pick a

8     date and agree on a date and take it up, even if it's a

9     standalone.

10                MR. BATTAGLIA:     I do that, Your Honor.

11                THE COURT:    Go ahead.

12                MR. BATTAGLIA:     There's one other matter I forgot.

13    I just saw Mr. Patterson's face and I realized I need to

14    bring this up is that the issue between ESG and CMC on --

15    let's call it a "Marketing Agreement," needs to be resolved

16    and I'm sure he's going to bring it up if I didn't.

17                And I can reach out contemporaneously to

18    Mr. Patterson and Ms. Saldana and find a date for that if

19    we're unable to work that out, as well.

20                THE COURT:    Okay.   How much -- well, I guess I'll

21    ask Mr. Patterson the same question, but just your thoughts

22    in terms of how much time do you think it would need.               Are

23    we talking legal argument or an evidentiary hearing in

24    connection with it?

25                MR. BATTAGLIA:     If there's a dispute, it's




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1     probably evidentiary hearing, as well, and it's

2     Mr. Patterson, so it's going to go a little longer.

3                  I said that with a smile on my face.

4                  THE COURT:   Mr. Patterson, what are you thoughts

5     on the motion?     I don't know much about it and probably

6     don't need to at this point, but just so I can get a sense

7     of kind of how much time you think you're going to need and

8     when we may need to set a date.

9                  MR. PATTERSON:    Well, I guess I'm not sure there's

10    a motion on file.

11                 THE COURT:   There isn't, that's why --

12                 MR. PATTERSON:    And if there is --

13                 THE COURT:   -- I don't think there is, but ---

14                 MR. PATTERSON:    -- yeah, so there's not and I

15    think what Mr. Battaglia is referring to is ESG anticipates

16    filing an adversary proceeding because it's going to include

17    CMC as a non-debtor and non-creditor.

18                 So if you're asking how long, however we keep the

19    dispute --

20                 THE COURT:   Oh, no, no, no.     You've answered my

21    question.

22                 MR. PATTERSON:    -- is (indiscernible).

23                 THE COURT:   The minute you said adversary

24    proceeding, that just takes, that just changes the dynamic

25    on a bunch of stuff.      So I think maybe the better approach




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1     would be wait to see what gets filed and then maybe we can

2     set a time -- a separate time and just a one-off time to

3     talk scheduling.

4                 MR. PATTERSON:     Right.     I think that's probably

5     best.

6                 THE COURT:    Okay.   Okay.    Is there anything else

7     we need to talk about or consider at this time, anything

8     that has come up?      It's just been a while since we all met.

9     I just wanted to make sure we were all touching base in a

10    number of matters, motions and --

11                MR. BATTAGLIA:     I think Ms. Porter and I had a

12    discussion about discovery issues.         I think there's only one

13    lingering issue.      I don't -- I'll circle back to her to see

14    where it is, but we've been successful in working out those

15    issues and hopefully can with respect to the one remaining

16    matter.

17                And then I guess the last thing, Your Honor, is

18    the Court had set -- or said there were dates available for

19    a joint Confirmation Hearing.        I know both Scheduling Orders

20    include a range of dates and I don't know whether you want

21    to drill down into that and give us a date and a time, or do

22    you want to wait until the 24th?

23                THE COURT:    Yeah, I will -- yeah, let's just wait

24    on the 24th, but I'll be working with my case manager to

25    make sure that we block off some dates there, to make sure




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1     nothing gets -- nothing happens between now and next week

2     when we talk about scheduling.        At least the dates that I

3     give you -- I'm running solo here today in light of all the

4     stuff that was going on in Houston, so I'd rather not give

5     out a date now, because it will surely change if I give it

6     out now.

7                 Let's do that.     And Mr. -- I'm seeing like an

8     application to employ calendared, well, yeah, it's an

9     application to employ some auctioneers.          Let's just all set

10    that -- unless somebody tells me differently, we can set it

11    on notice or we can set it -- at least let's just think

12    about -- well, you know, that thing has been out for a

13    while.

14                Why don't I set it for the date that we set for

15    the Disclosure Statement hearing?        Let's just take those

16    applications up at that time, as well, and just kind of see

17    -- subject to anyone's objection rights obviously.

18                MS. DRIVER:    We'll send a notice out for that,

19    Your Honor.     Thank you.

20                THE COURT:    Okay.   Anything else we need to talk

21    about today?     Anything else going on?

22          (No audible response.)

23                THE COURT:    Let me just do a quick check here.

24                Oh, there was one party who wanted to hit five

25    star, sorry.




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1                 MS. FREEMAN:     Good afternoon, Your Honor.       This

2     was just Liz Freeman.       I was hoping to make an appearance in

3     the FSS case --

4                 THE COURT:     Oh, go ahead.

5                 MS. FREEMAN:     -- on behalf of Melissa Hazelton,

6     the Subchapter V Trustee and Ms. Hazelton is also in

7     attendance.

8                 THE COURT:     Thank you very much.      Sorry about

9     that.

10                Okay.    All righty, folks.      Thank you very much for

11    your patience.      We will see each other sounds like really

12    really soon.

13                Thank you very much.       Have a good day.

14          (Hearing concluded at 12:48 p.m.)

15                                    * * * * *

16                  I certify that the foregoing is a correct

17    transcript to the best of my ability from the electronic

18    sound recording of the ZOOM/video/telephonic proceedings in

19    the above-entitled matter.

20    /S/ MARY D. HENRY
21    CERTIFIED BY THE AMERICAN ASSOCIATION OF

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25    DATE FILED:     MARCH 6, 2024




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